           Case 1:21-cv-00772-SAG Document 164 Filed 06/27/22 Page 1 of 1


                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

        CHAMBERS OF                                                            101 WEST LOMBARD STREET
  STEPHANIE A. GALLAGHER                                                      BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                          (410) 962-7780
                                                                                    Fax (410) 962-1812
                                                                           MDD_SAGchambers@mdd.uscourts.gov




                                                        June 27, 2022


  LETTER ORDER


          Re: City of Annapolis, Maryland v. BP P.L.C., et al.,
              Civil Case No. 21-cv-00772-SAG;
              Anne Arundel County, Maryland v. BP P.L.C., et al.,
              Civil Case No. 21-cv-01323-SAG

  Dear Counsel:

          I have reviewed the motions to stay in the above-captioned cases, along with the related
  briefing. I have determined that I will reserve ruling on those motions to stay until the parties have
  completed briefing on the plaintiffs’ motions for remand. Although I recognize the potential
  expenditure of unnecessary time and resources associated with that briefing, the Court will be in a
  better position when that briefing is complete to predict the likelihood that certiorari will be
  granted, or at least to anticipate the timing of the Supreme Court’s decision. Given the complex
  issues presented in these cases, I want to be well positioned to advance the cases expeditiously in
  the event that certiorari is denied. Accordingly, I will await full briefing on the plaintiffs’
  respective motions to remand, in accordance with the parties’ agreed schedule before I address
  whether a further stay is warranted.

         Despite the informal nature of this letter, it is an Order of the Court and will be docketed
  as such.

                                                        Sincerely yours,


                                                                /s/

                                                        Stephanie A. Gallagher
                                                        United States District Judge
